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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
EASTERN DIVISION

PENNYMAC LOAN SERVICES, LLC, CIVIL ACTION NO. 2:19-CV-00193-KS-MTP
Plaintiff(s),
v.

SITCOMM ARBITRATION ASSOCIATION,

 

 

 

 

MARK MOFFETT, SANDRA GOULETTE, AFFIDAVIT OF TRUTH OF
RONNIE KAHAPEA, MARK JOHNSON, SANDRA GOULETTE
KIRK GIBBS, and ALARIC SCOTT
Defendant(s).
AFFIDAVIT OF TRUTH

COMES NOW, Sandra Goulette (Hereinafter “Affiant”) over the age of 18 years,
competent to speak the truth, and possesses firsthand knowledge as to the following facts in
regard to the above referenced matter.

1. On February 06, 2020 Affiant received “Application to Clerk for Entry of Default Re:
Sandra Goulette and Supporting Affidavit from Cheryl S. Chang, Attorney for Defendant(s).

2. Affiant provides this Affidavit of Truth as a direct rebuttal of the information provided
by Cheryl S. Chang, Attorney for Defendant(s).

3. Cheryl S. Chang, Attorney for Defendant(s) claims (after being fully sworn and deposed,
although there is no Oath or Affirmation to the Affidavit provided) to have “personal
knowledge” of the facts set forth in alleged Affidavit.

4. Affiant has never met, nor does Affiant have any knowledge of Chery! S. Chang.

5. Affiant was served a Summons and Complaint on January 03, 2020 and returned an

Answer within the specified time frame (see attached Exhibits).

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6. Affiant is hereby submitting all documentation for a second time in the above-referenced

matter and also including an Opposition to Plaintiff(s) Application for Default.

FURTHER, Affiant, hereby attests, affirms, ascribes, and declares that Affiant has
firsthand knowledge of the information presented herein, that Affiant is competent to make such
claims, and the Affiant states the aforementioned is accurate under penalty of the State of
Mississippi Constitution and the United States of America Constitution on this February 07,

2020, so help me God.

 

JURAT
State of Mississippi )
) ss.
Jones County )

On February 07. 2020, before me, Jennie Lou Reedy, Notary Public; personally stood
Sandra Goulette, who proved to me on the basis of satisfactory evidence to be the person whose
name is subscribed to the within instrument and acknowledged to me that she executed the same
in her authorized capacity and that by his signature on the instrument the person(s), or the entity
upon behalf of which the person(s) acted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of Mississippi that

the foregoing paragraph is true and correct.

  
 
 
 

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AFFIDAVIT OF TRUTH PAGE 2 OF 2

 
